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                        UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF MICHIGAN


In re:                                               Case No. 18-00617

John Scott Palmer, III,                              Chapter 7

         Debtor.                                     Honorable Scott W. Dales


                       DEBTOR’S RESPONSE IN OPPOSITION TO
                     ACAR LEASING, LTD., D/B/A GM FINANCIAL’S
                     MOTION FOR RELIEF FROM AUTOMATIC STAY
                               (Related Document 17)

         Debtor, John Scott Palmer, III, by and through undersigned counsel, respectfully requests

this Honorable Court to deny the Motion of ACAR Leasing, LTD., d.b.a GM Financial’s Motion

for Relief from the Automatic Stay for the reasons set forth more fully in the Memorandum in

Support below.


                                                         Respectfully Submitted,

Dated: April 27, 2018                                    /s/Sarah A. Williams
                                                         Sarah A. Williams (P81447)
                                                         Attorney for Debtor
                                                         Law Office of Sarah Williams, PLLC
                                                         321 W. Lake Lansing Rd.
                                                         East Lansing, MI 48823
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                                MEMORANDUM IN SUPPORT

       The Debtor filed for bankruptcy relief under Chapter 7 on February 20, 2018. At the time

of filing through the date of this response, the Debtor is the Lessee of a 2015 GMC Sierra

vehicle. Debtor’s Statement of Intent set forth his intention to assume the lease with the

Lessor/Creditor, ACAR leasing, LTD., d.b.a. GM Financial. (DN. 1, pages 37-38).

       On April 13, 2018, the Creditor, ACAR Leasing, LTD., d.b.a. GM Financial (“Creditor”),

filed a Motion for Relief from the Automatic Stay. (DN. 17).     Creditor alleges in the Motion

that the Debtor “is in arrears under the terms of the lease in the amount of $1,223.92.” (DN. 17,

¶1). On April 19, 2018, Debtor brought the arrearages current and proof of such is attached

hereto as Exhibit A.

       Additionally, in the Motion the Creditor alleges that “upon information and belief, Debtor

is not maintaining full insurance coverage on the vehicle.” (DN. 17, ¶4). As required by this

Court’s Local Rule 1007-2(d), an asset protection report was filed and set forth that the vehicle is

question is indeed insured. (DN. 7) Proof of insurance was delivered to the Credit’s attorney, as

well, via e-mail, and is attached hereto as Exhibit B.

       On Monday April 23, 2018, the Debtor contacted GM Financial to ensure payment was

received and processed. At that time, the representative with whom he spoke indicated that the

payment was indeed received and the account was current. On April 25, 2018, Debtor’s Counsel

contacted the attorney for the Creditor, S. Thomas Padgett, to relay the information regarding the

current status of the account and request that the Motion for Relief from the Automatic Stay be

withdrawn. The attorney for the Creditor requested proof of payment, proof of insurance and a

written request for reaffirmation agreement – all of which were delivered to the Creditor’s

attorney via email. Despite the account being current, and the verification of such available

through his own client, the Creditor’s attorney indicated that he would not withdraw the Motion.


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Although the Motion is now moot, it is imperative that the Debtor file this response to ensure the

automatic stay remains in place to protect him as necessary. Despite the mootness of the Motion,

the depletion of this Court’s time and resources, and the unnecessary expense incurred by the

Debtor to defend this Motion, the Debtor respectfully requests this Honorable Court hold a

hearing on this matter.

       Wherefore, the Debtor respectfully requests that this Honorable Court deny the ACAR

Leasing, LTD., d.b.a. GM Financial’ s Motion for Relief from the Automatic Stay, set a hearing

on this matter, and for such other and further relief that this Court deems just and equitable.


                                                          Respectfully Submitted,


Dated: April 27, 2018                                     /s/ Sarah A. Williams
                                                          Sarah A. Williams (P81447)
                                                          Attorney for Debtor
                                                          Law Office of Sarah Williams, PLLC
                                                          321 W. Lake Lansing Rd.
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